Case 4:11-cv-00720-JED-PJC Document 614 Filed in USDC ND/OK on 11/27/19 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA

   ROBBIE BURKE, as the Special                         )
   Administrator of the Estate of Elliot Earl           )
   Williams, Deceased,                                  )
                                                        )
          Plaintiff,                                    )
                                                        )
   v.                                                   )
                                                        )      Case No. 4:11-CV-720-JED-PJC
   VIC REGALADO, SHERIFF OF TULSA                       )
   COUNTY, in His Official                              )
   Capacities, et al.,                                  )
                                                        )
          Defendant.                                    )

                           JOINT MOTION TO ENTER JUDGEMENT

          Plaintiff and Defendants, through their undersigned counsel, hereby advise the Court that

   this matter has been settled by way of an Agreed Judgment on all claims of the Plaintiff, Robbie

   Burke, as the Special Administratrix of the Estate of Elliot Earl Williams, deceased, against Vic

   Regalado, Sheriff of Tulsa County, in his official capacity, Case No. 4:11-CV-720.

          To effectuate the settlement between all parties, Plaintiff has agreed to release and

   discharge the judgments previously entered by the court in this matter on March 22, 2017 and

   August 29, 2017. Dkt. Nos. 499 and 548. Plaintiff further waives all claims to prejudgment and/or

   post-judgment intertest on each of the prior respective judgments, Dkt. Nos. 499 and 548, attorney

   fees and costs.

          In lieu of any and all claims for money damages, pre or post judgment interest, attorney

   fees and costs in whatever form or however denominated which arise from or may have arisen

   from the instant litigation, Plaintiff and Defendant, Vic Regalado, in his official capacity as the

   Tulsa County Sheriff, have agreed to enter the Agreed Judgment submitted herewith in the amount

   of Ten Million Dollars and no Cents ($10,000,000.00), as the sole payment of money damages

                                                   1
Case 4:11-cv-00720-JED-PJC Document 614 Filed in USDC ND/OK on 11/27/19 Page 2 of 3




   which were or may have been awarded in this matter inclusive of any and all prejudgment intertest;

   attorney fees, cost and expenses both pre-appeal and post-appeal; and said principal amount of this

   Agreed Judgment to bear post-judgment interest at the rate of 4.75% per annum.

             To effectuate their agreement and settlement, Plaintiff and Defendant respectfully request

   this Court to execute the Agreed Judgment submitted herewith in favor of Plaintiff, Robbie Burke,

   as the Special Administratrix of the Estate of Elliot Earl Williams, deceased, against Vic Regalado,

   Sheriff of Tulsa County, in his official capacity, Case No. 4:11-CV-720 in the amount of Ten

   Million Dollars and no Cents ($10,000,000.00), to bear post-judgment interest at the rate of 4.75%

   per annum.

             This compromise, settlement and resulting Judgment are intended to fully resolve all

   claims.

                                                          Respectfully Submitted,


                                                          /s/ Robert M. Blakemore
                                                          Daniel E. Smolen, OBA#19943
                                                          Robert M. Blakemore, OBA #18656
                                                          SMOLEN & ROYTMAN
                                                          701 S. Cincinnati Ave.
                                                          Tulsa, Oklahoma 74119
                                                          P: (918) 585-2667
                                                          F: (918) 585-2669
                                                          Attorneys for Plaintiff


                                                          /s/ Guy A. Fortney
                                                          Guy A. Fortney, #17027
                                                          Brewster and DeAngelis PLLC
                                                          2617 E. 21st Street
                                                          Tulsa, OK 74114-5725
                                                          (918)-742-2021
                                                          Fax: (918)-742-2197
                                                          Attorneys for Defendant Vic Regalado and
                                                          Stanley Glanz


                                                     2
Case 4:11-cv-00720-JED-PJC Document 614 Filed in USDC ND/OK on 11/27/19 Page 3 of 3




                                  CERTIFICATE OF SERVICE

          This is to certify that on the November 27, 2019, I electronically transmitted the
   foregoing document to the Clerk of Court using the ECF System for filing and transmittal of a
   Notice of Electronic Filing to all ECF registrants entered in this case.


                                                      /s/Robert M. Blakemore




                                                  3
